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                      EXHIBIT F
                  D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                      USDC Case No.: 13:cv-00331-GPC-KSC
                 (Exhibits to Declaration of Marshall J. Shepardson
             In Support of Opposition to Motion for Summary Judgment)
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                             EXPERT REPORT OF JOHN BLOOMFIELD




    1.   My name is John Bloomfield. I am over 21 years of age and am legally competent and
         expressly qualified to author this Report. All of the opinions in this report are expressed
         to a high reasonable degree of engineering certainty.


    2.   I have been retained as an expert by Plaintiffs’ counsel in this action, which arises from
         the March 17, 2011 accident of the CH-53E helicopter (BuNo 163077) manufactured by
         Sikorsky, a United Technologies Company. The accident helicopter suffered an
         unintended, uncommanded retraction of the left main landing gear pinning and fatally
         wounding crew technician Sargent Alexis Fontalvo. The accident aircraft was preparing
         for a proficiency training flight at MCAS, Miramar, California.




                              I. QUALIFICATIONS AND EXPERIENCE


    3.   I am an expert in avionics, aircraft electrical systems, aircraft electrical distribution,
         electric power generation, electric power control and management, avionics integration,
         trim systems, Global Positioning Systems, (“GPS”), Cockpit Voice Recorders (“CVR”),
         Full Authority Digital Engine Control, (“FADEC”), Flight Data Recorders (“FDR”), and
         Traffic Collision Avoidance Systems, (“TCAS”).


    4.   As listed in my Curriculum Vitae, which is attached as Appendix A, I graduated from the
         Georgia Institute of Technology, Industrial and Systems Engineering School in 1976. In
         1982, I was selected as one of twenty of the most innovative engineers in the history of
         Georgia Tech. I am also the youngest member of the Georgia Tech’s “Living History”
         program.


    5.   I am the President and owner of Bloomfield Research and Development and am the
         holder of eight United States patents in the disciplines of electronics, robotics, avionics,
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         medical electronics, ultrasonics, Precision Spread Spectrum Radio Ranging, battlefield
         communications, cellular digital software, and electronic toys. Bloomfield Research and
         development invents, develops, designs, builds prototypes, patents, and licenses leading
         edge technology products and systems, some notable examples of which are listed in the
         attached Curriculum Vitae.


    6.   For the past several years I have been involved in the investigation of numerous aircraft
         accidents focusing on forensic electronic controller, electrical generation and distribution,
         electromechanical apparatus, microprocessor controlled devices failures and anomalies
         that have caused or contributed to aircraft accidents. [See Exhibit B]


    7.   A list of the cases in which I have testified at deposition or trial in the past is appended
         hereto as Exhibit C. I have not authored any publications in the last 10 years. I have been
         retained by plaintiffs’ counsel to act as an expert witness in this accident case. My
         compensation is not, nor ever has been, dependent on the outcome of this matter.


                        II. INFORMATION AND DOCUMENTS REVIEWED


    8.   In reaching my opinions and conclusions set forth in this report, I have read, studied and
         researched various documents, investigative reports, engineering reports, manufacturer’s
         reports, military reports, letters and correspondence, tutorials, schematics, mechanical
         prints, systems standards, installation manuals, user manuals, maintenance manuals, fault
         isolation manuals, design specifications, pilot handbooks, depositions and emails.




                                  III. GEAR SYSTEM DESCRIPTION


    9.   The CH53E incorporates a tricycle gear arrangement, (2 mains and a nose gear). The
         system is comprised of a gear switch handle with safety release, multiple harnesses and
         wiring, a hydraulic electrically controlled actuator, hydraulic valves, scissor mechanisms,
         weight on wheels switches and hydraulic plumbing and connectors.
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    10.   The landing gear system is a safety critical system and the design attempts to employ
          several safeguards to prevent inadvertent mechanical movements. A basic electrical block
          diagram follows.




          Proceeding from the left, electrical power, (28 volts DC) is sourced through protective
          circuit breaker CB 48 to a delay relay K241 3-5. Once the conditions of K241 3-5 are
          satisfied electrical power can now move to the scissor mechanisms on both main gears
          that control WOW, (weight on wheels) switches. The WOW switches sense the condition
          of physical aircraft weight remaining on the gear mechanisms. The WOW switches
          prevent electrical power from moving along the path to actuate/raise the gear when any
          weight is on them. When the WOW switches sense no aircraft weight, electrical power is
          then supplied to the Landing Gear Control Panel. The Landing Gear Control Panel is a
          panel in the aircraft cockpit assessable to both the pilot and co-pilot. It is comprised of an
          electrical switch with a handle shaped like a landing gear tire, (fairly standard in aircraft
          switch design), a down lock release and a momentary push button to test the light that
          illuminates the translucent handle. When the Gear Handle is placed in the “UP” position
          electrical power is passed through the handle switch onto a hydromechanical valve that
          when energized allows pressurized hydraulic fluid, (3000 psi) to enter a hydraulic
          actuator and mechanically raise the gear.
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    11.   The CH53E landing gear system also incorporates another safety locking mechanism
          while on the ground. To prevent accidental retraction or collapsing of the gear that could
          result from a malfunction of the drag strut or towing over uneven terrain, a “landing gear
          safety pin” is placed through the strut mechanism as a lock. There are five pins in total;
          two for the auxiliary fuel tanks, (once each of two tanks) and one pin each for the left
          main gear, right main gear, and nose wheel. This Report will concentrates on the landing
          gear pins only and not the auxiliary fuel tanks pins.




          The Landing Gear Safety Pin is shown by the orange collar in the center of this image of
          an exemplar aircraft. They are “quick release” pins. Gripping the orange collar with the
          first and middle finger and pressing the center mechanism with the thumb releases a
          small retention ball at the other end of the pin allowing the pin to be removed by simply
          pulling it out.

    12.   The pins are to be removed in the CH53E after the aircraft engines are at proper
          parameters, all necessary electrical systems are powered, area and vicinity safety is
          assured and then the pilots deliver oral authority to the ground crews to remove the pins.
          Ideally, the pins slip right out unimpeded with little or no friction: however some
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          witnesses in this case (for example, gunnery Sergeant Jeremiah Wilcox) have testified
          that corrosion or interference due to environmental conditions, such as salt spray or sand,
          can cause some perceptible friction or “stickiness” to the pin.




                                 IV. HISTORY OF ACCIDENT FLIGHT


    13.   On March 17, 2011 the flight schedule authorized a proficiency training flight for CH53E
          BuNo 163077. The Captain completed a standard preflight inspection that included the
          nose landing gear and the left main landing gear. Subsequently, the Co-Captain inspected
          the right main landing gear. Other crewmembers assembled in the forward hydraulics
          compartment and did not recognize any problems with any hydraulic lines, electrical
          wires or other systems. All landing gear was deemed safe however, the safety pins that
          were in place at the time we’re not checked for any tension and it is not required by any
          governing manuals.


    14.   With the engines running, and electrical systems, hydraulic systems and other aircraft
          systems passing their associated checklists, the crew received the oral authority to pull
          the landing gear safety pins and the wheel chocks. Sergeant Fontalvo took the
          responsibility of removing the left main landing gear safety pin. The Navy report states
          that Sergeant Fontalvo was having trouble removing the landing gear safety pin. Sergeant
          Fontalvo then proceeded to remove the left auxiliary fuel tank pin. That exercise being
          successful, Sergeant Fontalvo then returned to the left main landing gear to reattempt that
          pin’s removal. While engaged in the second attempt the left main landing gear retracted
          suddenly and immediately as soon as the pin was removed. The aircraft’s left sponson
          fell on and crushed Sergeant Fontalvo.


                                       VI. ACCIDENT CAUSE


    15.   The military investigation ultimately relied on Sikorsky’s internal investigation
          ostensibly to determine the probable cause of this accident. Sikorsky pinned the blame on
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         “Kapton degradation,” referring to the polyimide wire insulation that was used in some of
         the wiring in the landing gear wiring harnesses that supply electrical current to the
         hydraulic utility module. The hydraulic utility module is comprised of metal body
         encasing a series of electrically driven solenoids that actuate valves to control hydraulic
         pressure and flow to extend and contract a hydraulic ram that raises and lowers the gear.
         The system utilizes ship’s power of 28VDC. When the “up” valve solenoid receives
         28VDC, electrical energy is passed through its coil to ground and the solenoid plunger re-
         acts driving the valve to open allowing hydraulic fluid to pass to the gear ram. There is no
         safety logic at this point and the utility module solenoids (up or down) “don’t care”
         where the 28VDC is sourced. Sikorsky’s employee engineer concluded that compromised
         Kapton insulation created an errant electrical pathway from a 28VDC wire to the wire
         that energizes the “up” solenoid. The check and safety logic built from the series of
         switches, (relay, weight on wheels switches, control panel gear switch) were all
         “upstream” of the compromised wires and therefore had no effect or safety control
         because the electrical pathway was established after their circuitry.


   16.   What Sikorsky ignored, however, was that the only sections of wire showing damage
         sufficient to allow a short like the one that occurred, were segments of non-Kapton wire
         leading immediately to the plugs energizing the "up" and “down” solenoids. The
         following series of images are from a document titled HMH-361 produced by the
         military AECA/ITAR/EAR. As is clearly depicted, the denuded segments are in fact
         “white wire,” often known colloquially as “Spec–55” wire, as opposed to the signature
         gray casing used in the Kapton wire elsewhere in the harnesses. Marine avionics
         technician Megan Stone testified that it is her fingers depicted in these photos, and both
         she and her supervising technician Robert Wuthrich testified that the subject wire was not
         Kapton.
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     17.   What the photos also depict is that the plugs energizing the “up” and “down” solenoids
           are immediately adjacent to each other, and the wire terminus for each is simply a loose
           strand of isolated wire, meaning that the loose wires intended to energize the “up” and
           “down” solenoids are permitted, by virtue of the design of the wiring harness and utility
           module, to come in direct contact with the metal features of the utility module, as well as
           with each other. The juxtaposition of the “up” and “down” control valves is clearly
           depicted in the following illustration also produced by the military AECA/ITAR/EAR
           (contained in the Organizational Maintenance Testing and Troubleshooting Procedures
           manual for the CH-53E landing gear systems).
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     18.   The defective configuration of the wiring harness allowed stray 28VDC electrical power
           to pass directly from the “down” wire path into and to energize the “up” wire to the “up”
           solenoid in the hydraulic utility module. That caused the landing gear system to want to
           retract, (landing gear up position). The only reason the landing gear did not retract was
           the “landing gear safety pin” was in place. That is why Sergeant Fontalvo had difficulty
           removing the left main landing gear safety pin. When Sargent Fontalvo managed to get
           the pin removed the landing gear was now free to retract which it did suddenly and
           rapidly allowing the helicopter to fall on Sergeant Fontalvo.
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                       VII. HARDWARE INSPECTIONS AND EXAMINATIONS


     19. In mid October 2015, I attended a two-day inspection and lecture at MCAS Miramar, CA.
          The first day consisted of lectures detailing the landing gear system, accident scenario,
          maintenance practices, command structure and other pertinent information outlining the
          accident. Additionally, an exemplar aircraft was made available for inspection and
          service crew were on hand to answer any questions. The wiring bundles that contained
          the defective wires in the accident aircraft were identified and traced in the exemplar
          aircraft.




              Exemplar: Pink tape identified the wiring bundles carrying the gear control wires.
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     20.   In mid January 2016, I attended an inspection of the accident wires at Seal Labs, Los
           Angeles, CA. At that inspection all the individual wires that were harvested by the
           military inspectors were laid out, photographed, measured and microscopically examined
           and micro-photographed. The most critically compromised sections of insulation were
           identified and matched to the HMH-361 documentation.




                  Actual accident wire portion of “uplink” control




                               VIII. CONCLUSIONS AND REMEDIES


     21.   Sikorsky contemplated only human error malfunctions, as evident because they
           incorporated a series of electrical interlock provisions to prevent 28VDC from reaching
           the up solenoid and retracting the landing gear when it was not intentionally commanded.
           However, none of those safety provisions worked because this was a “single point”
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           failure. The “single point” is literally the very single point where a “hot” (28VDC) wire
           became compromised and energized the compromised control wire to the “up” solenoid
           valve.


     22.   To avoid “single point” failures many aircraft systems that are flight critical or safety
           priority enjoy dual systems. In this case two independent wires should be energized
           before the system would retract. It is foreseeable to the point of inevitability that any
           single wire path will become compromised during the lifespan of an aircraft, due to the
           normal vibration and chafing that occur during normal aircraft operation. On the other
           hand, the statistical likelihood of two, redundant wires being compromised and also
           becoming in contact with another “hot” wire would be very low. More still, a three-wire
           arrangement would make the failure a near impossibility.


     23.   Heavy lift helicopters like the CH53E contain hundreds of miles of a variety of wires.
           These wires are “bundled” and these bundles snake all over the airframe. There is no
           consideration of what wire is bundled directly with and in contact with the other wires.
           Wires that carry similar currents and voltages should be separated from each other and
           not in physical contact in the bundle and isolated by wires that are sensor signal wires,
           such that should a compromise in the insulation occur, the electrical energy could not
           find an electrical pathway into another circuit causing an unintended and uncommanded
           activation of a system at the wrong time. As concerns this case, the wires energizing the
           “up” and “down” valves of the hydraulic utility module should have been physically
           separated, especially considering that both wire paths use the same voltage (28 VDC) and
           command opposite functions. There is no more “cost” involved in merely separating
           these two critical, opposing paths, than in implementing the present configuration.
           Likewise, the utility module itself could just as easily, and for the same cost, have been
           designed with the “up” and “down” control valves on opposite sides of the mechanism,
           so that loose wire segments adjacent to the connection points were not necessarily in
           physical contact.
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